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                                   D-20                               Subodh Chandra <subodh.chandra@chandralaw.com>



State of Ohio v. Stacy Hinners, et al.—our call this morning to request City of Huron
prosecuting attorney's dismissal of criminal charges with prejudice
Subodh Chandra <subodh.chandra@chandralaw.com>                                        Wed, May 15, 2019 at 2:01 PM
To: Aimee Lane <alane@walterhav.com>
Cc: William Hanna <whanna@walterhav.com>, Mark Wallach <mwallach@walterhav.com>, Ashlie Case Sletvold
<ashlie.sletvold@chandralaw.com>, Donald Screen <don.screen@chandralaw.com>, Brian Bardwell
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 Dear Director Lane:

 I am writing to follow up on my telephone call with you, Mr. Wallach, and Mr. Hanna this morning to request, on behalf of
 Stacy Hinners, dismissal with prejudice of all criminal charges. Currently, Ms. Hinners is charged with violating H.C.O.
 509.04 ("disrupting a lawful meeting").

 As I explained during our call, I was calling you solely in your capacity as prosecuting attorney of the city of Huron—the
 highest prosecutorial authority of the jurisdiction—in an effort to appeal to your ethical, prosecutorial judgment and
 discretion. Accordingly, I think any "client" consultation as Mr. Wallach suggested during our call would be inappropriate,
 because criminal charges are filed on the public's behalf and not on behalf of any civil client. The mayor and city manager,
 for example, have no decisionmaking authority and should not participate in any decision, regarding whether any
 individual is prosecuted. That is strictly a prosecutorial function.

 During our call, you all were uncertain as to whether a call to you versus to Huron "police prosecutor" Michael Kaufman
 would be appropriate, and you said you would look into the question and call me back.

 Since then, I've had the opportunity to look into that issue and write to report back what I found.

 Section 5.10 of the city of Huron's charter provides that the law director "shall perform such duties as may be assigned to
 the office of city solicitor by law, as well as those imposed by the administrative code."

 R.C. 733.51 provides that "[t]he director of law shall be prosecuting attorney of the mayor's court. When the legislative
 authority of the city allows assistants to the director of law, he [sic] may designate the assistants to act as prosecuting
 attorneys of the mayor's court. The person designated shall be subject to the approval of the legislative authority."

 The city's own website states that a function of the law department is "to represent the City and the State in all
 prosecutions brought in the Huron Municipal Court, including round the clock availability to advise the various law
 enforcement agencies and providing advocacy services to all victims of crime within the jurisdiction of the Huron Municipal
 Court."

 I found nothing in the codified ordinances linked through the city's website and last updated in January 2019 to indicate
 that the city's legislative authority (its council) has allowed you to designate assistants to act as prosecuting attorneys. I
 am accordingly left uncertain regarding the legal status or authority of Michael Kaufman, who, oddly, appears on the
 website of the Huron Municipal Court as "court staff." (I trust you will correct me if I overlooked something.)

 Regardless, I think it's reasonable based on the above authority to conclude that you, as law director, are the highest
 prosecuting authority for the city, and that it is appropriate to request that you dismiss all charges against Ms. Hinners with
 prejudice, and do so immediately. If you direct Mr. Kaufman to execute that decision, that's fine with us.

 As you surely know by now, video and audio of the incident—at which I understand were present—make plain that Ms.
 Hinners did not "disrupt" the Council meeting as was claimed but was engaged in First Amendment-protected speech—
 speech that the mayor and perhaps others apparently did not like. Putting aside for the moment the unconstitutional
 vagueness and overbreadth of H.C.O. 509.04 on its face and as applied (e.g., "[m]ake any utterance, gesture or display
 which outrages the sensibilities of the group'), any charge based on what transpired last night is improper. This incident is
 remarkably similar to the 2017 U.S. Supreme Court case of Lozman v. City of Riviera Beach, Florida. It would be best if
 the prosecution corrected course and dismissed charges with prejudice immediately, rather than continue the city and its
 officials down this unconstitutional path. No probable cause exists or ever existed to support the arrest or charge.

 Finally, I ask you to consider issues of conflict before you personally make a judgment. You were a witness to what
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transpired and to Ms. Hinners's speech, and it does appear that the mayor spoke with you and the city manager before
having Ms. Hinners arrested. If an independent prosecutor needs to be swiftly appointed, and you have that authority,
then please do so immediately.

The summons Huron police officers gave Ms. Hinners requires her to be in Huron Municipal Court on Friday, May 17, at
8:30 am. I am trying to avoid that necessity. A prompt response would be appreciated.
—
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